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                I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                       T H E W E ST E R N D I ST R I C T O F T E X AS
                               SA N A N T O N I O D IV I SI O N

    FARIDA BROWN,

                                                      NO . 5:19-CV-184
    Plaintiff
                                                      (consolidated with
                                                      NO . 5 : 1 8 - C V - 0 05 5 5 - X R
    vs.

    UNITED STATES OF
    AMERICA,

    Defendant



                                 FINAL JUDGMENT

          Judgment is entered in accordance with the Findings of Fact & Conclu-

sions of Law dated February 7, 2022, by District Judge Xavier Rodriguez,

against the United States in favor of Plaintiff, in the amount of:

          $3,217,204.131 for Farida Brown.

          Plaintiff shall file her bill of costs with this Court within 10 days of entry

of this judgment.

          Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding


1After reviewing trial testimony, the Court finds that inflation and interest offset
each other, resulting in a net discount rate of 0%. Therefore, of this amount,
$370,951.00 represents the present value of reasonable and necessary future medical
expenses Farida Brown will incur.

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the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent.2

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.

      SIGNED this 5th day of April, 2022.




                                    XAVIER RODRIGUEZ
                                    UNITED STATES DISTRICT JUDGE




2   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

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